     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 1 of 26 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

WAYNE WASHINGTON,                      )
                                       )
       Plaintiff,                      )
                                       )                   Case No.
             v.                        )
                                       )
CITY OF CHICAGO, KENNETH               )
BOUDREAU, JOHN HALLORAN,               )
BERNARD RYAN, ROBERT                   )
LENIHAN, JOHN POLUSZNY,                )
MICHAEL CLANCY, JOHN BALL,             )                   JURY TRIAL DEMANDED
JAMES O’BRIEN, GERALD CARROLL,         )
ELIZABETH SHINN, JOHN STOUT,           )
AND UNKNOWN EMPLOYEES OF               )
THE CITY OF CHICAGO,

       Defendants.


                                       COMPLAINT



       NOW COMES Plaintiff, WAYNE WASHINGTON, by and through his attorneys,

STEVEN A. GREENBERG and STEVEN FINE, and complaining of KENNETH BOUDREAU,

JOHN HALLORAN, BERNARD RYAN, ROBERT LENIHAN, JOHN POLUSZNY, MICHAEL

CLANCY, JOHN BALL, JAMES O’BRIEN, GERALD CARROLL, ELIZABETH SHINN, and

UNIDENTIFIED EMPLOYEES OF THE CITY OF CHICAGO (collectively “Defendant

Officers”) and THE CITY OF CHICAGO (hereinafter “City”), alleges as follows:

                                      Introduction

       1.      Plaintiff, WAYNE WASHINGTON, was convicted of the murder of Marshall

Morgan, Jr., a murder that he did not commit. Arrested in the prime of his life, Plaintiff
     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 2 of 26 PageID #:2




was sentenced to 25 years in prison, spending years after with the stigma of being a

convicted murder, before he was ultimately exonerated in 2015.

       2.       Plaintiff was convicted after the Defendant Officers engaged in a tapestry

of egregious wrongdoing, including fabricating evidence, fabricating a statement,

threatening witnesses and withholding exculpatory evidence in an effort to shortcut the

investigatory process and frame Plaintiff for a crime he had nothing to do with.

       3.       Meanwhile, the Defendants ignored compelling evidence that another

individual – the victim’s estranged father, Marshall Morgan, Sr. – actually committed the

crime. Unlike Plaintiff, Morgan, Sr. had a motive and a modus operandi of committing

similar murders. Morgan, Sr. had recently taken out a life insurance policy on his son,

the victim in this case, and had a history of killing for financial gain. As far back as 1977,

Morgan, Sr. was convicted of killing a close friend over a debt. In 1995, after his son’s

murder, Morgan, Sr. was suspected in the murder of his fiancé, Michelle Soto, and he

was ultimately convicted of the 2001 murder of his girlfriend, Deborah Jackson.

       4.       Never giving up on proving his innocence, Plaintiff worked tirelessly inside

and outside the courts to show that he had absolutely nothing to do with this crime. On

February 9, 2015, the State, after reinvestigating, agreed to vacate his conviction, and

dismissed all charges against Plaintiff. This lawsuit seeks redress for his injuries.

                                        Jurisdiction

       5.       This action is brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the United States

Constitution.




                                              2
     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 3 of 26 PageID #:3




       6.     This Court has jurisdiction for Plaintiff’s constitutional claims pursuant to

28 U.S.C. § 1331 and supplemental jurisdiction his state law claims pursuant to 28

U.S.C. §1367. Venue is proper under 28 U.S.C. § 1391(v). The events giving rise to this

complaint occurred in this judicial district.

                                        The Parties

       7.     Wayne Washington is now 42 years old. He is the father of ten children

(an eleventh passed away in 2009). Since his release from prison he has worked at

McDonald’s, for family, and at an RV factory.

       8.     At all times relevant hereto, Defendants Kenneth Boudreau, John Halloran,

Bernard Ryan, Robert Lenihan, John Poluszny, Michael Clancy, John Ball, James O’Brien,

Gerald Carroll, John Stout, Elizabeth Shinn and other unidentified employees of the

Chicago Police Department (“Defendant Officers”) were police officers or otherwise

employed by the Chicago Police Department. All are sued in their individual capacities,

and acted under color of law and within the scope of their employment during the

investigation of the murder at issue.

       9.     Defendant City of Chicago is an Illinois municipal corporation. The City of

Chicago is or was the employer of each of the Defendant Officers.

                                         The Crime

       10.    On or about May 8, 1993, 20 year-old Marshall Morgan, Jr. disappeared.

Morgan, Jr. was a college student at Illinois Institute of Technology and a standout

basketball player.




                                                3
     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 4 of 26 PageID #:4




      11.    On or about May 15, 1993, Morgan, Jr.’s body was found inside his

abandoned car. He was nude except for a black-and-white t-shirt, and his body was

wedged between the front and back seats of the car.

      12.    There was a large amount of litter found inside the car, including but not

limited to beer cans and bottles, and a prisoner property envelope with the name

“Laron Hyde” on it. Morgan, Jr.’s checkbook was also found inside the vehicle, along

with $17 in cash.

      13.    The medical examiner determined that Morgan, Jr. died of three gunshot

wounds from a .38 caliber gun.



                                 Marshall Morgan, Sr.

      14.    One of the last people to see Morgan, Jr. on the day he disappeared was

his estranged father, Marshall Morgan, Sr. The victim, Morgan, Jr., had allegedly gone

to see his father, Morgan, Sr., at Corliss High School, where Sr. worked as a janitor.

      15.    Morgan, Sr. had only recently reconnected with his son, after an absence

of seventeen years.

      16.    At the same time, Morgan, Sr. was facing a mounting financial crisis. He

declared in court filings that he was destitute, his house was in foreclosure and he was

being sued for child support.

      17.    Shortly after he re-appeared, Morgan, Sr. took out a life insurance policy

on his healthy twenty-year old son.




                                            4
     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 5 of 26 PageID #:5




         18.   Just five months after Morgan, Sr. took out a life insurance policy on him,

Morgan, Jr. was found dead. Morgan, Sr. collected nearly $50,000 on the policy.

         19.   In 1977, Morgan Sr. had shot and killed his close friend over a $700 debt.

Morgan, Sr. was convicted of voluntary manslaughter.

         20.   In 1995, while Plaintiff was awaiting trial, Morgan, Sr.’s then-fiancé,

Michelle Soto was shot and killed, her nude body wedged between the front and back

seats of her abandoned car.

         21.   Just months before her death, Morgan, Sr. took out a life insurance policy

on her.

         22.   After Soto’s death, Morgan, Sr. collected over $100,000 from that policy.

He also fraudulently transferred the deed to her house into his name.

         23.   In 2001, Morgan, Sr.’s then-girlfriend, Deborah Jackson, was shot and

killed, her partially nude body left inside the trunk of her abandoned car.

         24.   Just prior to Ms. Jackson’s death, she and Morgan, Sr. had been arguing

over $25,000 that he claimed she had taken from him.

         25.   Morgan, Sr. confessed to killing Ms. Jackson; he was convicted and

sentenced to 75 years in prison for her murder.

         26.   Plaintiff never met Morgan, Jr. and had absolutely nothing to do with his

death.

                                The Police Investigation

         27.   Morgan, Jr.’s murder was a “heater” case in Chicago. There was

significant media attention and pressure to solve the case.




                                              5
       Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 6 of 26 PageID #:6




        28.   The Defendant Officers short-circuited the criminal investigation, coercing

witnesses and fabricating evidence in an effort to unlawfully target Plaintiff and his co-

defendant, Tyrone Hood.

        29.   There was a large assortment of trash within the vehicle. Morgan Jr.'s

mother told the police that he had cleaned the vehicle that day. At that time Morgan Sr.

was working as a janitor and his duties included emptying the trashcans outside of the

school.

        30.   Included with the trash were five beer cans, six liquor bottles, and a

prisoner property envelope bearing the name "Laron Hyde". Hyde was brought to area

one for questioning. He told police that he had thrown the envelope away more than a

month before and that he frequented the area around the high school where Morgan,

Sr, worked, which was in the neighborhood that Hyde lived in. Hyde was eventually

released.

        31.   According to the Defendant Officers, they began searching for Hood. Their

stated reason for suspecting Plaintiff was that they already allegedly found his

fingerprints on two beer bottles that were among the trash strewn inside Morgan, Jr.’s

car.

        32.   For two days – from May 20, 1993 through May 22, 1993 – Hood was in

police custody. During this time, he was repeatedly interrogated, coerced and beaten by

the Defendant Officers.

        33.   During those interrogations, the Defendant Officers fabricated statements

and attributed them to Hood, including that he had touched various alcohol bottles, that




                                             6
     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 7 of 26 PageID #:7




he had been in the neighborhood where Morgan, Jr.’s car was found, and that he gave

allegedly inconsistent alibis for the time period surrounding Morgan, Jr.’s disappearance.

None of those statements were true.

      34.    When asked in other proceedings whether they had threatened Hood,

pointed a gun at him, or physically abused him, Detectives Halloran and O'Brien invoked

their Fifth Amendment rights.

      35.    After two days in police custody, Plaintiff was released. The Defendant

Officers had no probable cause to hold him any longer or to charge him with a crime.

      36.    Still, all of the evidence that the Defendant Officers fabricated while Hood

was in custody was introduced and used against him at his criminal trial.

      37.    The fingerprints of Joe West had been discovered on a beer can in the car.

He was located and brought to Area One. The officers threatened him until he

eventually provided a statement implicating Hood. When he was released he admitted

his statements were a lie.

      38.    The manner in which West was coerced into implicating Plaintiff in the

crime was never disclosed to the prosecutor or to Plaintiff or his criminal defense

attorney.

      39.    Five days later, the Defendant Officers again arrested Hood and subjected

him to another round of interrogations.

      40.    The Defendant Officers also seized Plaintiff. Both he and Hood were

arrested at a corner store and taken to the Area One Detective Division (“Area One”).

      41.    Once there, Plaintiff denied having anything to do with the murder.




                                            7
     Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 8 of 26 PageID #:8




       42.    Undeterred, the Defendant Officers focused on coercing witnesses and

fabricating additional evidence to pin the murder on Plaintiff.

       43.    The Defendant Officers used physical violence against Plaintiff, including

punching and slapping him while he was handcuffed, and told him that West had

implicated him, until he agreed to sign a confession that was absolutely false.

       44.    In the false confession, the Defendant Officers fabricated that Hood had

brought Plaintiff a black hooded sweatshirt after he and Plaintiff had shot and killed

Morgan, Jr.

       45.    The Defendant Officers claim they then went to Washington’s house and

allegedly recovered a black sweatshirt, which they claimed was Morgan, Jr.’s.

       46.    Finally, the Defendant Officers coerced Jody and Michael Rogers into

falsely implicating Hood and Washington in the crime.

       47.    Jody and Michael Rogers were brothers who lived in the neighborhood;

neither knew anything about the murder of Morgan, Jr. The Defendant Officers

interrogated Jody over the course of two days. During that time, the Defendant Officers

threatened to charge him with murder, threatened him with physical harm and

physically beat him. Tired, scared and wanting to go home, Jody provided a statement

inculpating Hood and Washington that was fabricated and false.

       48.    Michael Rogers also knew nothing about the murder of Marshall Morgan,

Jr. and said so to the Defendant Officers. Nonetheless, the Defendant Officers falsely

reported that Michael provided them with the same account of Hood and Washington’s

culpability as his brother, Jody.




                                             8
      Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 9 of 26 PageID #:9




       49.     The Defendant Officers induced Michael to testify consistent with his

brother by providing him with approximately financial and other benefits. None of those

benefits were ever disclosed to the prosecutor or to Plaintiff or his criminal defense

attorney.

                            The Police Investigation Falls Apart

       50.     Built on lies, the Defendant Officers’ investigation began to crumble before

Plaintiff’s trial commenced.

       51.     Every single witness the state police had coerced into false statements

and confessions recanted their statements.

       52.     Joe West disavowed his statement to the police and his testimony before

the grand jury, explaining that he was coerced by the Defendant Officers into falsely

implicating Plaintiff.

       53.     Jody Rogers similarly recanted his statement to the police and his

testimony before the grand jury, explaining that both were a by-product of the

Defendant Officers’ coercion.

       54.     Jody’s brother, Michael, did the same, admitting that he knew nothing

about Morgan, Jr.’s murder or Plaintiff’s involvement in it.




                         The Defendant Officers Unlawfully Induce
                              A Witness to Identify Plaintiff

       55.     Before Hood’s bench trial, Defendant Officers went out and found their

eleventh hour witness: Emanuel Bob. Bob testified that three years prior, on the night


                                             9
       Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 10 of 26 PageID #:10




before Mother’s Day, he saw Plaintiff drive up to Bob’s girlfriend’s home in the victim’s

car, from a second story window with a view obstructed by a tree. He stated that

Washington then approached Plaintiff and the car.

         56.   Bob’s testimony was false and fabricated; he never reported this alleged

sighting in the three years that passed between the crime and Plaintiff’s trial because it

never happened. Instead, the Defendant Officers unlawfully induced Bob into

identifying the victim’s car, Hood and Washington by spoon feeding information to him

and subjecting him to an unduly suggestive photo array that contained only a

photograph of Hood, a photograph of Washington and two photographs of the victim’s

car.

         57.   Indeed, Bob has admitted that he did not know Hood or Washington, and

that he never saw either inside the victim’s car. Despite being obviously exculpatory,

the Defendant Officers never disclosed that information to the prosecution or defense.

         58.   Moreover, after showing Bob the photo array, the Defendant Officers lost

or destroyed it along with any related police reports memorializing the array. The

Defendant Officers have offered no explanation for having lost or destroyed such

material evidence.

         59.   Destroying the array, however, enabled the Defendant Officers to claim

that the array was not unduly suggestive when it was. For example, the Defendant

Officers fabricated reports and falsely alleged that they had shown Bob photographs of

multiple black males when in fact they had only shown him pictures of Washington and

Hood.




                                            10
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 11 of 26 PageID #:11




       60.     In addition, on the eve of trial the prosecutor offered Jody a deal on his

then-pending charges in exchange for testifying against Wasington and Hood. Jody took

the deal and testified against them. His brother, Michael, also renounced his

recantation and testified consistent with his brother.

                                 Plaintiff’s Wrongful Conviction

       61.     On May 7, 1996, based on the Defendants’ fabricated evidence and the

unlawfully induced and coerced testimony of witnesses, Hood was wrongfully convicted

of murder. He was sentenced to a total of 75 years in the Illinois Department of

Corrections.

       62.     After Hood was convicted, P plaintiff's case was tried before a jury. The

jury could not reach a verdict and a mistrial was declared.

       63.     The prosecution then offered Washington a plea deal-in exchange for a

guilty plea they would agree to a sentence of 25 years. He pled.

       64.     During Plaintiff’s criminal proceedings, the Defendant Officers committed

perjury by, for example, denying they committed any misconduct and testifying to

statements that Plaintiff never made.

       65.     Without the Defendants’ misconduct, Plaintiff never would have been

arrested, let alone convicted.

                                  Plaintiff’s Exoneration

       66.     Never giving up on proving his innocence, in 2015, Plaintiff was finally

exonerated. On February 9, 2015, the State agreed to vacate Washington’s conviction

and dismissed all charges against him in a manner indicative of his innocence.




                                             11
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 12 of 26 PageID #:12




                 Chicago’s Practice of Coercing False Statements

      67.    The constitutional violations that caused Plaintiff’s wrongful conviction

were not isolated events. To the contrary, they were the result of the City of Chicago’s

policies and practices of pursuing wrongful convictions through reliance on coerced

statements and profoundly flawed investigations.

      68.    The Defendant Officers’ coercion of false statement(s) from Plaintiff, Hood,

and witnesses in this case was undertaken pursuant to, and proximately caused by, a

policy and practice on the part of the Department.

      69.    In an article examining thousands of murder cases in Chicago from 1991

through 2000, The Chicago Tribune found that Chicago police detectives had been

involved in a wide range of cases that ultimately collapsed even though the detectives

had obtained confessions.

      70.    That article examined inculpatory statements taken by Defendant

Boudreau. According to the Tribune’s survey, “Boudreau stands out not only for the

number of his cases [with confessions] that have fallen apart, but for the reasons.” For

example, in those cases, Boudreau has been accused by defendants of punching,

slapping or kicking them, just as he did with Washington and the witnesses here.

      71.    To date, Defendant Boudreau has obtained murder confessions from more

than a dozen people for whom the charges were either dropped or the defendant was

acquitted notwithstanding the supposed confessions. Likewise, he has obtained coerced

inculpatory statements from witnesses to corroborate those false confessions.




                                           12
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 13 of 26 PageID #:13




      72.    For a two-year period in the early 1990s, for example, Defendant

Boudreau and his partner, Defendant Halloran helped “solve” at least five murders with

“confessions” that ended with acquittals. All of these suspects alleged that Boudreau

and/or Halloran mistreated them to obtain false confessions.

      73.    Defendants Boudreau’s and Halloran’s misconduct in soliciting false

“confessions” and witness statements are just two of the more prominent examples of

the wide-spread policy and practice within the Department.

      74.    The wrongful convictions of innocent persons involving coerced and false

statements include numerous cases in which Department detectives used the very same

tactics that the Defendants employed against Plaintiff, his co-defendant and the

witnesses in this case. These tactics include: (a) physical abuse; (b) psychological

intimidation and manipulation; (c) fabrication of confessions; (e) concealment of

exculpatory information; (f) false promises of leniency in exchange for “cooperation” in

the form of a statement; and (g) use of other unlawful tactics to secure the arrest,

prosecution, and conviction of persons without regard to their actual guilt.

      75.    Consistent with the municipal policy and practice described in the

preceding paragraph, members of the Department, including but not limited to the

Defendant Officers, systematically suppressed evidence pertaining to these fabricated

and coerced statements, both from the Cook County State’s Attorney’s Office and from

criminal defendants and their counsel.

      76.    As a matter of both policy and practice, municipal policy makers and

Department supervisors condoned and facilitated a code of silence within the Chicago




                                           13
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 14 of 26 PageID #:14




Police Department. In accordance with this code, Department detectives refused to

report and otherwise lied about misconduct committed by their colleagues, including

the misconduct at issue in this case.

       77.     As a result of the City of Chicago’s established practice of not tracking and

identifying police officers who are repeatedly accused of the same kinds of serious

misconduct; failing to investigate cases in which the police are implicated in obtaining

coerced and false statements, as well as wrongful charges and convictions; failing to

discipline officers accused of this unlawful conduct; and facilitating a code of silence

within the Department, Chicago police officers (including the Defendant Officers here)

have come to believe that they may violate the civil rights of members of the public and

cause innocent persons to be charged with serious crimes without fear of adverse

consequences.

       78.     The City’s failure to train, supervise, and discipline its officers effectively

condones, ratifies, and sanctions the kind of misconduct that the Defendant Officers

committed against Plaintiff in this case. Constitutional violations such as occurred in

this case are encouraged and facilitated as a result of the City’s practices and de facto

policies, as alleged above.

       79.     The City of Chicago and officials within the Department failed to act to

remedy the abuses described in the preceding paragraphs, despite actual knowledge of

the pattern of misconduct. They thereby perpetuated the unlawful practices and

ensured that no action would be taken (independent of the judicial process) to remedy

Plaintiff’s ongoing injuries.




                                               14
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 15 of 26 PageID #:15




       80.    City of Chicago policymakers who were deliberately indifferent to the

violations of constitutional rights described herein consciously approved the policies and

practices described in the foregoing paragraphs.



                                  Plaintiff’s Damages

       81.    Plaintiff spent years in prison for crimes that he did not commit. Plaintiff

must now attempt to make a life for himself outside of prison without the benefit of

years of life experiences, which normally equip adults for that task.

       82.    Additionally, the emotional pain and suffering caused by losing years

during the prime of his life has been substantial. During his wrongful incarceration,

Plaintiff was stripped of the various pleasures of basic human experience, from the

simplest to the most important, which all free people enjoy as a matter of right. He

missed out on the ability to raise his children, share holidays, births, funerals and other

life events with loved ones, and on the fundamental freedom to live one’s life as an

autonomous human being.

       83.    As a result of the foregoing, Plaintiff has suffered tremendous damage,

including physical sickness and injury, and emotional damages all caused by the

Defendants’ misconduct.

                             COUNT I – 42 U.S.C. § 1983
                              Violation of Due Process

       84.    Each paragraph of this Complaint is incorporated as if restated fully herein.




                                            15
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 16 of 26 PageID #:16




       85.     As described more fully above, all of the Defendant Officers, while acting

individually, jointly, and/or in conspiracy, as well as under color of law and within the

scope of their employment, deprived Plaintiff of his constitutional right to a fair trial.

       86.     In the manner described more fully above, the Defendant Officers,

individually, jointly, and/or in concert and in conspiracy, fabricated false reports and

other evidence, deliberately withheld exculpatory evidence, destroyed and/or

intentionally lost material evidence, and used an unduly suggestive identification

procedure. In doing so, the Defendants violated their clearly established duties to

report all material exculpatory and impeachment information to prosecutors, and to

preserve material evidence.

       87.     The destruction or loss of evidence was done in bad faith, and/or was

done so that Plaintiff could not present obviously exculpatory evidence at trial.

       88.     Absent Defendants’ misconduct, the prosecution of Plaintiff could not and

would not have been pursued, and Plaintiff would not have been convicted.

       89.     The Defendants’ misconduct directly and proximately resulted in the

unjust and wrongful criminal conviction of Plaintiff and his continuing wrongful

imprisonment, thereby denying him his constitutional right to a fair trial, in violation of

the Due Process Clause of the United States Constitution.

       90.     As a direct and proximate result of this violation of his constitutional right

to a fair trial, Plaintiff suffered injuries, including but not limited to loss of liberty,

physical sickness, and emotional distress.




                                                16
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 17 of 26 PageID #:17




       91.      The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with malice and willful indifference to Plaintiff’s clearly

established constitutional rights.

                              COUNT II – 42 U.S.C. § 1983
                                 Failure to Intervene

       92.      Each paragraph of this Complaint is incorporated as if restated fully herein.

       93.      In the manner described above, by their conduct and under color of law,

during the constitutional violations described herein, one or more of the Defendants

stood by without intervening to prevent the violation of Plaintiff’s constitutional rights,

even though they had the opportunity to do so.

       94.      As a direct and proximate result of the Defendants’ failure to intervene to

prevent the violation of Plaintiff’s constitutional rights, Plaintiff suffered injuries,

including but not limited to loss of liberty, physical harm, and emotional distress. These

Defendants had a reasonable opportunity to prevent this harm, but failed to do so.

       95.      The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with malice and willful indifference to Plaintiff’s clearly

established constitutional rights.

                              Count III – 42 U.S.C. § 1983
                             Federal Malicious Prosecution1

       96.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

1       Plaintiff is including this claim in his Complaint to preserve it in the event that the
Supreme Court decides that there is a federal malicious prosecution claim, see Manuel v. City of
Joliet et. al., No. 14-9496, 2016 WL 205942 (U.S. Jan. 15, 2016), or the Seventh Circuit
overturns its ruling in Newsome v. McCabe, 256 F.3d 747 (7th Cir. 2001).

                                               17
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 18 of 26 PageID #:18




       97.     Defendant Officers caused Plaintiff to be unreasonably seized and further

caused Plaintiff to be improperly subjected to judicial proceedings for which there was

no legitimate probable cause. These judicial proceedings were instituted and continued

maliciously, resulting in injury, and all such proceedings were ultimately terminated in

Plaintiff’s favor in a manner indicative of his innocence.

       98.     The Defendant Officers accused Plaintiff of criminal activity knowing those

accusations to be without genuine probable cause, and they made statements to

prosecutors with the intent of exerting influence to institute and continue the judicial

proceedings.

       99.     Statements of the Defendant Officers regarding Plaintiff’s alleged

culpability were made with knowledge that said statements were false and perjured. In

so doing, the Defendant Officers fabricated evidence, withheld exculpatory information,

destroyed and/or lost material, exculpatory evidence and used unduly suggestive

identification procedures to induce a false identification of Plaintiff.

       100.    The misconduct in this Count violated Plaintiff’s rights under the Fourth

Amendment and the procedural and substantive due process components of the

Fourteenth Amendment.

       101.    The misconduct described in this Court was undertaken with malice,

willfulness, and reckless indifference.

       102.    The misconduct described in this Count was undertaken pursuant to the

City’s policy and practice in the manner more fully described above.




                                              18
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 19 of 26 PageID #:19




       103.   As a result of this misconduct, Plaintiff sustained, and continues to sustain,

injuries including physical injury and sickness, and emotional pain and suffering.

                            COUNT IV – 42 U.S.C. § 1983
                     Conspiracy to Deprive Constitutional Rights

       104.   Each paragraph of this Complaint is incorporated as if restated fully herein.

       105.   After the murder of Marshall Morgan, Jr., the Defendant Officers, acting

within the scope of their employment and under color of law, agreed among themselves

and with other individuals to act in concert in order to deprive Plaintiff of his

constitutional rights, including his rights to due process and to a fair trial, all as

described in the various paragraphs of this Complaint.

       106.   Additionally, before and after Plaintiff’s conviction, the Defendant Officers

further conspired to deprive Plaintiff of exculpatory information to which he was lawfully

entitled and which would have led either to his not being charged, his acquittal, or his

more timely exoneration.

       107.   In this manner, the Defendant Officers, acting in concert with other

unknown co-conspirators, conspired by concerted action to accomplish an unlawful

purpose by unlawful means.

       108.   In furtherance of the conspiracy, each of the co-conspirators engaged in

and facilitated numerous overt acts, including but not limited to those set forth above –

such as fabricating evidence, withholding exculpatory evidence, coercing false

statements, using unduly suggestive identification procedures, and committing perjury

during hearings and trials – and was an otherwise willful participant in joint activity.




                                              19
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 20 of 26 PageID #:20




        109.    As a direct and proximate result of the illicit prior agreement and actions

in furtherance of the conspiracy referenced above, Plaintiff’s rights were violated, and

he suffered injuries, including but not limited to loss of liberty, physical sickness, and

emotional distress.

        110.    The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with malice, willfulness, and deliberate indifference to

Plaintiff’s rights.

                                    COUNT V – 42 U.S.C. § 1983
                                Fifth and Fourteenth Amendments



        111.    Each paragraph of this Complaint is incorporated as if restated fully herein.

        112.    In the manner described more fully above, the Defendant Officers,

individually, jointly, and in conspiracy with one another, as well as under color of law

and within the scope of their employment, forced Plaintiff to incriminate himself falsely

and against his will, in violation of his rights secured by the Fifth and Fourteenth

Amendments.

        113.    As described more fully above, the Defendant Officers conducted an

unconstitutional interrogation of Plaintiff, which caused Plaintiff to make involuntary

statements implicating himself in the murder.

        114.    The false statements written and coerced by the Defendant Officers and

attributed to Plaintiff were used against Plaintiff to his detriment in a criminal case.

These statements were the primary reason that Plaintiff was prosecuted.




                                              20
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 21 of 26 PageID #:21




       115.   The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with malice, with reckless indifference to the rights of

others, and in total disregard of the truth and Plaintiff’s clear innocence.

       116.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered injuries, including but not limited to physical injury and sickness, loss of liberty,

and emotional distress.



                             COUNT VI – 42 U.S.C. § 1983
                                 Municipal Liability

       117.   Each paragraph of this Complaint is incorporated as if restated fully herein.

       118.   The actions of all the individual Defendant Officers were undertaken

pursuant to policies and practices of the Department, described above, which were

ratified by policymakers for the City of Chicago with final policymaking authority. These

policies and practices included but were not limited to the failure to adequately train,

supervise, and discipline officers who engaged in the alleged constitutional violations, as

set forth in greater detail above.

       119.   The policies and practices described in this Count were maintained and

implemented by the City of Chicago with deliberate indifference to Plaintiff’s

constitutional rights.

       120.   As a direct and proximate result of the City’s actions, Plaintiff’s

constitutional rights were violated and he suffered injuries and damages, as set forth in

this Complaint.




                                             21
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 22 of 26 PageID #:22




       121.   The City of Chicago is therefore liable for the misconduct committed by

the Defendant Officers.

                            COUNT VII – State Law Claim
                               Malicious Prosecution

       122.   Each paragraph of this Complaint is incorporated as if restated fully herein.

       123.   The Defendant Officers accused Plaintiff of criminal activity knowing those

accusations to be without genuine probable cause, and they made statements to

prosecutors with the intent of exerting influence and to institute and continue the

judicial proceedings.

       124.   The Defendant Officers caused Plaintiff to be improperly subjected to

judicial proceedings for which there was no probable cause. These judicial proceedings

were instituted and continued maliciously, resulting in injury.

       125.   Statements of the Defendant Officers regarding Plaintiff’s alleged

culpability were made with knowledge that said statements were false and perjured.

The Defendant Officers also fabricated evidence, coerced false inculpatory statements

from Plaintiff’s co-defendant and witnesses, withheld exculpatory evidence that would

have demonstrated Plaintiff’s absolute innocence, destroyed material, exculpatory

evidence and used unduly suggestive identification procedures. The Defendants were

aware that, as described more fully above, no true or reliable evidence implicated

Plaintiff in the Morgan, Jr. murder.

       126.   The Defendant Officers intentionally withheld from and misrepresented to

prosecutors facts that further vitiated probable cause against Plaintiff, as set forth

above, and failed to investigate evidence which would have led to the actual


                                             22
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 23 of 26 PageID #:23




perpetrator. The Defendant Officers withheld the facts of their manipulation and the

resulting fabrications from Plaintiff.

       127.   The misconduct described in this Count was undertaken intentionally, with

malice, willfulness, and reckless indifference to the rights of others.

       128.   On February 9, 2015, the prosecution terminated in Plaintiff’s favor when

his conviction was vacated.

       129.   As a direct and proximate result of this misconduct, Plaintiff sustained,

and continues to sustain, injuries as set forth above, including physical sickness and

emotional distress.

                            COUNT VIII – State Law Claim
                      Intentional Infliction of Emotional Distress

       130.   Each paragraph of this Complaint is incorporated as if restated fully herein.

       131.   The acts and conduct of the Defendant Officers as set forth above were

extreme and outrageous. The Defendants’ actions were rooted in an abuse of power or

authority, and they were undertaken with intent to cause, or were in reckless disregard

of the probability that their conduct would cause, severe emotional distress to Plaintiff,

as is more fully alleged above.

       132.   As a direct and proximate result of the Defendant Officers’ actions,

Plaintiff suffered and continues to suffer physical sickness and severe emotional distress.


                              COUNT IX – State Law Claim
                                  Civil Conspiracy

       133.   Each paragraph of this Complaint is incorporated as if restated fully herein.




                                             23
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 24 of 26 PageID #:24




       134.   As described more fully in the preceding paragraphs, the Defendant

Officers, acting in concert with other known and unknown co-conspirators, conspired by

concerted action to accomplish an unlawful purpose by unlawful means.

       135.   In furtherance of the conspiracy, the Defendant Officers committed overt

acts and were otherwise willful participants in joint activity including but not limited to

the malicious prosecution of Plaintiff and the intentional infliction of emotional distress

upon him.

       136.   The misconduct described in this Count was undertaken intentionally, with

malice, willfulness, and reckless indifference to the rights of others.

       137.   As a direct and proximate result of the Defendants’ conspiracy, Plaintiff

suffered damages, including physical sickness and severe emotional distress, as is more

fully alleged above.

                              COUNT X – State Law Claim
                                Respondeat Superior


       138.   Each paragraph of this Complaint is incorporated as if restated fully herein.

       139.   In committing the acts alleged in the preceding paragraphs, each of the

Defendant Officers were members of, and agents of, the Department, acting at all

relevant times within the scope of their employment and under color of law.

       140.   Defendant City of Chicago is liable as principals for all torts committed by

its agents.




                             COUNT XI – State Law Claim


                                             24
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 25 of 26 PageID #:25




                                    Indemnification

       141.   Each paragraph of this Complaint is incorporated as if restated fully herein.

       142.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the scope of

their employment activities.

       143.   The Defendant Officers are or were employees of the Chicago Police

Department, who acted within the scope of their employment in committing the

misconduct described herein.

       WHEREFORE, Plaintiff, WAYNE WASHINGTON, respectfully requests that this

Court enter judgment in his favor and against Defendants, KENNETH BOUDREAU, JOHN

HALLORAN, BERNARD RYAN, ROBERT LENIHAN, JOHN POLUSZNY, MICHAEL CLANCY,

JOHN BALL, JAMES O’BRIEN, GERALD CARROLL, JOHN STOUT, ELIZABETH SHINN, and

UNKNOWN EMPLOYEES OF THE CITY OF CHICAGO, AND THE CITY OF CHICAGO,

awarding compensatory damages, attorneys’ fees, and costs against each Defendant,

and punitive damages against each of the individual Defendants, as well as any other

relief this Court deems appropriate.

                                       JURY DEMAND

       Plaintiff, WAYNE WASHINGTON, hereby demands a trial by jury pursuant to

Federal Rule of Civil Procedure 38(b) on all issues so triable.

                                          Respectfully submitted,
                                          WAYNE WASHINGTON

                                          /s/ Steve Greenberg




                                             25
    Case: 1:16-cv-01893 Document #: 1 Filed: 02/02/16 Page 26 of 26 PageID #:26




Steven A. Greenberg
Steven A. Greenberg and Assoc., Ltd.
53 W. Jackson Blvd.
Suite 1260
Chicago, IL 60604
(312) 879-9500

Steven H. Fine
53 W. Jackson Blvd.
Suite 1260
Chicago, IL 60604
(312) 922-0855




                                        26
